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                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION


AARA, INC. d/b/a A & L MARKET,

            Plaintiff/Counter-Defendant,    Case No. 2:19-cv-13221 GAD EAS
v.                                          U.S. District Judge Gershwin A. Drain

MICHIGAN LABORERS’ VACATION FUND,
            Defendant/Counter-Plaintiff and
            Third-Party Plaintiff,
v.

JEFFREY McCARVER,

            Third-Party Defendant.


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            MICHIGAN LABORERS’ VACATION FUND’S
     THIRD PARTY COMPLAINT AGAINST JEFFREY MCCARVER


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                               INTRODUCTION

      This is a lawsuit concerning benefits claimed by multiple parties under an

ERISA welfare plan.

                                    PARTIES

      1.     The Plaintiff of this Third-Party Complaint, Michigan Laborers’

Vacation Fund, are Trustees of a Taft-Hartley, multiemployer welfare trust regulated

by the Employee Retirement Income Security Act of 1974, 29 U.S.C. § 1001, et seq.,

as amended (ERISA) (collectively the Plaintiff is the “Fund”).      Its office is in

Lansing, Michigan.

      2.     A twenty (20) member Board of Trustees (BOT) and alternate trustees

administers the Fund.

      3.     Jeffrey McCarver (“McCarver”) is a “beneficiary” (as defined by

ERISA §3(8), 29 U.S.C. §1002(8), and Fund participant residing in the Eastern

District of Michigan. He is the Third-Party Defendant of the Fund’s Third-Party

Complaint.

      4.     AARA, Inc. (“AARA”) has its principal place of business in Detroit,

Michigan 48204. It is the Counter-Defendant of the Fund’s Counter Complaint.

                         JURISDICTION AND VENUE

      5.     Federal Court has original jurisdiction based on 28 U.S.C. §1331, and

exclusive jurisdiction based on 29 U.S.C. § 1332(e)(1) for causes of action brought


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under 29 U.S.C. §1132(a)(3). Federal Court has supplemental jurisdiction over all

other claims in this litigation based on 28 U.S.C. §1367.

      6.     Venue for this complaint for Federal Court is proper under 28 U.S.C.

§1391 and 29 U.S.C. §1132(e)(2).

                      BACKGROUND FACTS AND LAW
      7.     The Fund is an ERISA “employee welfare benefit plan” trust, 29 U.S.C.

§1002(1). The Fund provides vacation benefits to its participants.

      8.     The twenty (20) Fund Trustees and alternate Trustees are appointed, in

equal numbers, by unions and employers that sponsor the Fund. The Trustees are

ERISA “named fiduciaries.” ERISA §403, 29 U.S.C. §1103.

      9.     Employers contribute to the Fund on behalf of employees, as required

by applicable collective bargaining agreements (CBAs), at the rates set forth in such

CBAs.

      10.    McCarver was an employee covered by a CBA at all material times and

is a Fund beneficiary and participant.

      11.    McCarver received his most recent vacation benefit of $1,746.00 on or

about May 21, 2019 by check from the Fund. According to AARA’s Complaint,

attached as Exhibit 1, after McCarver cashed his check from the Fund, he assigned

the check to AARA, who paid McCarver an additional $1,746.00. When AARA




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attempted to cash the check, it was returned as a duplicate check.            AARA

subsequently delivered a complaint for payment to the Fund.

      12.    The Michigan Laborers’ Vacation Fund’s Plan (Plan) and its Trust

documents govern the payment of Fund benefits.

      13.    McCarver’s right to receive and/or retain any Fund benefits is at all

times subject to the Plan’s terms and the Fund’s Trust documents.

      14.    The Fund’s Board of Trustees has a fiduciary duty to administer the

Plan consistent with the terms of the Plan documents. ERISA §402(a)(1), 29 U.S.C.

§1104(a).

      15.    Under the terms of the Plan, a participant’s benefit is limited to monies

allocated to a Fund bookkeeping account established by the Fund for the participant.

      16.    McCarver’s entitlement to Fund benefits is conditioned on and limited

to the amount under the Plan, as computed by the Fund.

                        COUNT I
 VIOLATION OF THE TERMS OF THE PLAN—29 U.S.C. §1132(a)(3)(B)

      17.    Fund re-alleges prior paragraphs by reference.

      18.    ERISA §502(a)(3), 29 U.S.C. §1132(a)(3), provides civil enforcement

of plan provisions.

      19.    The Trust prohibits a participant from voluntarily or involuntarily

assigning any Plan benefit. The Fund’s exclusive purpose is to distribute vacation



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pay in accordance with the Plan and the Fund’s Trust. Payments received from

employers are credited to individual employees on whose behalf they are made.

      20.    The Plan and Trust limit the Fund benefit assigned to McCarver by the

amount credited to him based on contributions made on his behalf by contributing

employers. McCarver cannot assign his benefit to AARA, and the purported

assignment of his benefit to AARA is therefore invalid under the Plan and Trust’s

terms and purpose.

      21.    In addition, AARA’s claims violate the Plan and Trust because 1) the

claims are based on a an impermissible assignment of a Plan benefit; 2) because the

claims violate the Fund’s exclusive purpose and the Plan terms; and 3) because the

claims, if granted, would violate the Plan and Trust on account of a reduction of

credited amounts to innocent individual employee participant beneficiaries in

violation of the Trust’s purpose.

      WHEREFORE, the Fund asks this Court to:

      a.     Order McCarver to restore the benefits he received beyond his credited

             contributions through his improper assignment;

      b.     Order McCarver to pay the Fund’s costs and attorney fees incurred in

             this litigation; and

      c.     Provide the Fund with such other additional relief as the Court may find

             just.


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                                     COUNT II
                                UNJUST ENRICHMENT

      22.    The Fund re-alleges prior paragraphs by reference.

      23.    McCarver received a benefit that he is not eligible to receive from the

Fund, by assigning a Fund benefit to which he was not entitled, to AARA.

      24.    McCarver’s retention of the overpayment by AARA has resulted or will

result in an inequity to the Fund’s beneficiaries. AARA’s claims against the Fund,

if successful, will result in an improper depletion of welfare funds. AARA’s

continued retention of the overpayment and/or granting AARA’s claims is

inequitable as the loss of funds affects other Fund participants.

      25.    McCarver improperly enjoys the advantages of the overpayment at the

expense of the Fund’s other participants, and if AARA’s claims are granted, it will

enjoy the advantage of the overpayment at the expense of the other participants. As

such, McCarver possesses and AARA claims an unjust enrichment that improperly

depletes welfare funds.

      26.    Equity and good conscience require McCarver to return the benefits to

AARA, and for AARA’s claims to be dismissed.

      27.    The Fund is entitled to equitable relief under ERISA §502(a)(3), 29

USC §1132(a)(3), to prevent McCarver’s unjust enrichment.

      WHEREFORE, the Fund asks this Court to:



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      a.     Find McCarver was unjustly enriched and inadvertently paid over and

             above the benefits assigned to him under the Plan and ERISA;

      b.     Order restitution of the overpayment, plus interest, from McCarver;

      c.     Order McCarver to pay the Fund’s costs and attorney fees incurred in

             this litigation; and

      d.     Provide the Fund with such other additional relief as the Court may

             find just.

                                         COUNT III
                                    INJUNCTIVE RELIEF

      28.    The Fund re-alleges prior paragraphs by reference.

      29.    McCarver and AARA have claimed or are claiming the same benefits

from the Fund.

      30.    These claims for these benefits continues today and has damaged, and

is currently damaging, or will damage the Fund and its participants.

      31.    McCarver and AARA are or will improperly enjoy the advantage of the

improper assignment by McCarver the expense of the Fund’s other participants, who

are or will unjustly bear an additional charge.

      WHEREFORE, the Fund asks this Court to:

      a.     Order restitution of the overpayment, plus interest and costs from

             McCarver;



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      b.     Order McCarver to pay the Fund’s costs and attorney fees incurred in

             this litigation;

      c.     Provide the Fund with such other additional relief as the Court may find

             just.

                             COUNT IV
            CLAIM FOR OTHER APPROPRIATE RELIEF UNDER
                      ERISA 29 U.S.C. §1132(a)(3)

      32.    The Fund re-alleges prior paragraphs by reference.

      33.    McCarver and AARA have claimed or are claiming duplicate benefits

from the Fund.

      34.    These claims for duplicate benefits continues today and has damaged,

is currently damaging, and/or will damage, the Fund and its participants.

      35.    McCarver and AARA are or will improperly enjoy the advantage of

McCarver’s improper assignment at the expense of the Fund other participants, who

will bear an additional expense, unjustly.

      WHEREFORE, the Fund asks this Court to:

      a.     Order restitution of the overpayment, plus interest, and costs from

             McCarver and;

      b.     Order McCarver to pay Fund’s costs and attorney fees incurred in this

             litigation; and




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      c.     Provide the Fund with such other additional relief as the Court may find

             just.

                             COUNT VI
             FRAUDULENT MISREPRESENTATION/CONVERSION

      36.    McCarver made material and false misrepresentations with respect to

(a) his entitlement to benefits under the Plan; (b) for the purpose of converting Plan

assets; (c) with his knowledge that the representations were false.

      37.    McCarver’s conduct incorporated statements he knew to be false;

statements which were proffered to the Fund and/or to AARA with the intent that

the Fund and/or AARA rely on them; statements on which the Fund and/or AARA

did rely.

      38.    McCarver’s misrepresentations were for the purpose of personal gain

and in violation of state and/or federal common law.

      WHEREFORE, the Fund asks this Court to:

      a.     Order McCarver to make the Fund whole for damages it has suffered

             due to his fraudulent misrepresentation;

      b.     Order McCarver to pay the Fund’s costs and attorney fees incurred in

             this litigation; and

      c.     Provide the Fund with such other additional relief as the Court may find

             just.



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                      COUNT VII AGAINST McCARVER
                       THEFT BY FALSE PRETENSES

      39.    The Fund re-alleges prior paragraphs by reference.

      40.    McCarver secured plan assets by inducing a fraud and/or a false

pretense of entitlement to Plan assets.

      41.    McCarver illegally used a check issued by the Fund upon which AARA

relied to gain access to property.

      42.    McCarver’s action was a theft by false pretenses under state and/or

federal common law.

      WHEREFORE, the Fund asks this Court to:

      a.     Order McCarver to make the Fund whole for damages it has suffered

             due to his theft by false pretenses;

      b.     Order McCarver pay the Fund’s costs and attorney fees incurred in this

             litigation; and

      c.     Provide the Fund with such other additional relief as the Court may find

             just.




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November 8, 2019



                        CERTIFICATE OF SERVICE
       I certify that on November 8, 2019, I caused the foregoing paper to be
electronically filed with the Clerk of the Court using the ECF system and mailed a
copy of such documents to:

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                                               /s/ Lauren E. Crummel
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    EXHIBIT 1
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